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                    UNITED STATES DISTRICT COURT

                       DISTRICT OF CONNECTICUT


ADRIANA RIVERA,
          -Plaintiff


     -vs-                                            3:06-CV-00531 (TPS)


CORPORATE RECEIVABLES, INC.
          -Defendant


                      RULING ON PLAINTIFF’S
            APPLICATION FOR ATTORNEY’S FEES AND COSTS

     Plaintiff Adriana Rivera seeks attorney’s fees and costs

pursuant to 15 U.S.C. § 1692 et seq.        Plaintiff’s application for

attorney’s fees and costs, submitted by her counsel Daniel Blinn,

Esquire, requests a fee award of $30,652.75, plus costs of $92.59.

The total amount requested is $30,745.34.             Defendant Corporate

Receivables, Inc. (“CRI”) opposes plaintiff’s motion.                For the

reasons set forth herein, plaintiff’s motion for attorney’s fees

and costs [Dkt. #68] is GRANTED, but with significant reductions.

Plaintiff is awarded $9,195.83 in attorney’s fees and $92.59 in

costs, for a total of $9,288.42.

                              I.    Facts

      On April 6, 2006, plaintiff Adriana Rivera filed a two-count

complaint against CRI alleging specific violations of the Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., as

well as a state law claim for intentional infliction of emotional
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distress.    These claims arose from CRI’s efforts to collect on an

unpaid   credit     card    account     used   to   purchase     a   motorcycle.

Plaintiff was a cosigner on that credit card account.                CRI filed a

motion to dismiss the claim of intentional infliction of emotional

distress pursuant to          Fed. R. Civ. P. 12(b)(6) on July 17, 2006

[Dkt. #13], which was successfully opposed by plaintiff.                 On March

22, 2007, CRI filed a $4,000 offer of judgment, inclusive of

attorney’s fees, which was rejected by plaintiff.                The matter was

subsequently tried to a jury on October 9 and 10, 2007. 28 U.S.C.

§ 636(c).

     Pursuant to the first count of her complaint, plaintiff

attempted   to     prove   at   trial   that   defendant    CRI,     through    its

employee    Jose    Sobrino     (“Sobrino”),   engaged     in    seven   distinct

violations of the FDCPA.1          Pursuant to the second count of her


     1

     Plaintiff attempted to prove that CRI violated the FDCPA by
(1) engaging in conduct the natural consequence of which was to
abuse, oppress or harass the plaintiff in violation of 15 U.S.C. §
1692d; (2) making false, deceptive or misleading statements or
representations in violation of 15 U.S.C. § 1692e; (3) threatening
to take any action that cannot legally be taken or that it did not
intend to take in violation of 15 U.S.C. § 1692e; (4) representing
that nonpayment of the debt would result in the plaintiff’s arrest
or imprisonment in violation of 15 U.S.C. § 1692e; (5) falsely
representing or implying that the plaintiff had committed a crime
in violation of 15 U.S.C. § 1692e; (6) failing to state during the
initial telephone conversation that it was attempting to collect a
debt and that any information obtained would be used for that
purpose in violation of 15 U.S.C. § 1692e; and (7) failing to give
the plaintiff written notice of the amount of the debt, the name of
the creditor to whom the debt was owed, a statement regarding the
plaintiff’s right to dispute the debt and to require the defendant
to verify the debt within five days after the initial communication

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complaint, plaintiff offered evidence of her claim for intentional

infliction of emotional distress and actual damages.                    Among the

several full exhibits placed into evidence by plaintiff was a

“Stipulation of Uncontested Facts and Law” which conceded one of

the seven claimed FDCPA violations. Specifically, as referenced by

Attorney Blinn in his closing argument, the parties stipulated that

CRI had violated 15 U.S.C. § 1692g (“the stipulated violation”) by

failing to give plaintiff the required timely written notice of the

debt, its collection, and her rights to dispute or verify the debt

in question.

     After deliberation, the jury returned a verdict in plaintiff’s

favor   on   the   conceded   15    U.S.C.   §   1692g    violation,     awarding

statutory damages in the amount of $1,000. [Dkt. #67].                   The jury

found for defendant CRI on the six other claimed FDCPA violations

and on plaintiff’s claim of intentional infliction of emotional

distress.    Further, the jury found that plaintiff had not proven

any actual damages. Plaintiff filed her motion for attorney’s fees

and costs [Dkt. #68] with the required accompanying affidavit [Dkt.

#70] on October 24, 2007.      Defendant filed its brief in opposition

on November 14, 2007. [Dkt. #73].

                              II.     Discussion

                          A. Offer of Judgment




in violation of 15 U.S.C. § 1692g.

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     Rule 68 of the Federal Rules of Civil Procedure provides, in

relevant part:

     At any time more than 10 days before the trial begins,
     a party defending against a claim may serve upon the
     adverse party an offer to allow judgment to be taken
     against the defending party for the money or property or
     to the effect specified in the offer, with costs then
     accrued. . . . An offer not accepted shall be deemed
     withdrawn and evidence thereof is not admissible except
     in a proceeding to determine costs.     If the judgment
     finally obtained by the offeree is not more favorable
     than the offer, the offeree must pay the costs incurred
     after the making of the offer. . . .

Fed. R. Civ. P. 68.           The purpose of Rule 68 is to encourage

settlement   and   avoid   litigation      by   prompting        the   parties   to

evaluate the risks and costs of litigation, and to balance them

against the likelihood of success at trial. ADVISORY COMMITTEE NOTE ON

RULES OF CIVIL PROCEDURE , REPORT OF PROPOSED AMENDMENTS , 5 F.R.D. 433, 483

n. 1 (1946); Marek v. Chesny, 473 U.S. 1, 5 (1985).                    The Supreme

Court has held that Rule 68 requires that any offer allow “judgment

to be taken against the defendant for both the damages caused by

the challenged conduct and the costs then accrued.” Marek, 473 U.S.

at 6.

     Accordingly, costs and fees must be included in any valid

offer of judgment.    This can be accomplished in either of two ways,

depending on the phrasing of the offer.               If the offer contains

language that indicates that fees and costs are included, then that

offer represents an aggregation of projected damages and fees and

costs accrued to that point. Id.           Alternatively, if the offer is


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silent as to fees and costs or states that they are not included,

the court is required by the Rule to calculate an additional amount

which, in its discretion, it determines to be sufficient to cover

costs and fees. Id.   “If a plaintiff chooses to reject a reasonable

offer, then it is fair that he not be allowed to shift the cost of

continuing the litigation to the defendant in the event that his

gamble produces an award that is less than or equal to the amount

offered.”   Delta Airlines, Inc. V. August, 450 U.S. 346, 356

(1981). Under that reasoning, a plaintiff will be required to bear

its own post-offer costs and the post-offer costs of the defendant

when it fails to accept a reasonable offer of judgment.           See Jolly

v. Coughlin, No. 92-CV-9026(JGK), 1999 WL 20895 at *9 (S.D.N.Y.

Jan. 19, 1999).   An offer of judgment is reasonable if it is equal

to or greater than the sum of the award granted at trial and

reasonable attorney’s fees and costs up to the date of the offer.

     Defendant’s March 22, 2007 offer of judgment was in the amount

of $4,000, inclusive of attorney’s fees.       As plaintiff was awarded

$1,000 at trial, that offer was reasonable only if plaintiff’s

attorney’s fees up until the offer were $3,000 or less.           According

to Attorney Blinn’s fee affidavit, he had accumulated $9,622.78 in

fees and costs prior to defendant’s offer of judgment. [Dkt. #70].

His rejection of defendant’s offer was therefore unreasonable only

if the $6,622.78 of the claimed attorney’s fee above the $3,000

accounted for in defendant’s offer was itself unreasonable.                The


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court finds that plaintiff’s attorney’s fees reasonably exceeded

$3,000 at the time of defendant’s offer of judgment, and that

plaintiff’s rejection of that offer was therefore reasonable.

     In its opposition to plaintiff’s fee application, defendant

provides a list of items on plaintiff’s fee request that are

specifically   connected     to   plaintiff’s     unsuccessful       claims.

Defendant argues that these items are unreasonable and should be

deducted.   Without ruling on the merits of each of these proposed

deductions, the court finds that to credit every one of defendant’s

proposed deductions would serve only to reduce plaintiff’s pre-

offer fee to $6,546, which is still substantially higher than the

$3,000 threshold. Defendant alternatively claims that the court

should apply an across-the-board reduction to plaintiff’s fee

request to account for partial success.         Again, without deciding

what overall reduction is appropriate, the court notes that it

would have had to reduce plaintiff’s fees by over sixty-eight

percent to bring them down to $3,000.2


     2

     According to Attorney Blinn’s financial affidavit, he had
accrued $9,622 in costs up until the offer of judgment. The
court would have to impose a nearly sixty-nine percent deduction
to that number to reduce it to $3,000. Again, without ruling on
the merits, if the court were to credit all of defense counsel’s
proposed deductions to Attorney Blinn’s claimed pre-offer of
judgment costs, the resulting sum would be $6,546. The court
would have to impose a fifty-four percent reduction to that
number to reduce it to $3,000. The court finds that the magnitude
of these downward adjustments, required under either scenario
before defendant’s offer of judgment could be characterized as
“reasonable,” would be unduly harsh, for the reasons stated

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     To apply such an extreme reduction to plaintiff’s pre-offer of

judgment costs would be unduly harsh given the allegations in this

case and the case law in this area. While the decision to pursue a

claim may ultimately prove disappointing, arriving at that juncture

often requires extensive investigation and research in the early

stages    of   litigation.       Although       it    is   sometimes         immediately

apparent that a claim is not worth pursuing, very often significant

preliminary work must be done before the vulnerability of a claim

is apparent.     Thus, while much of the work done in pursuit of some

of the claims in this case may have been fruitless, it does not

necessarily      follow   that     all     of    the       early      work    done    was

unreasonable.     Either way, the extent of reduction to plaintiff’s

fee requests that would be necessary to characterize defendant’s

offer of judgment as “reasonable” unrealistically Draconian in the

circumstances.

     Rule 68 is a powerful and potentially effective tool for

facilitating settlement, and the court encourages litigants to

employ offers of judgment in that pursuit.                  Had the circumstances

of this case been slightly different, it is conceivable that

plaintiff could be held liable for the post-offer costs of both

parties.       Unfortunately for the defendant, however, it either

underestimated plaintiff’s reasonable attorney’s fees up until the

point of offer, or determined that $4,000 was the maximum they were


herein.

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willing to offer.    Had they based their offer solely on a projected

award, and left the determination of reasonable fees and costs to

the court, the disposition of this fee application may well have

been quite different.       Under such circumstances, if the court had

determined    an   amount   of    fees     and   costs   that,    together       with

defendant’s    offer,   made     the     Offer   of   Judgment     “reasonable,”

plaintiff would have been required either to accept that offer or

face the harsh consequences of covering all of her and defendant’s

post-offer fees and costs.

     For example, in Jolly, 1999 WL 20895, the plaintiff failed to

accept an offer of judgment that was more favorable than the

judgment finally obtained at trial.                The defendant’s offer of

judgment was in the amount of $30,360.00, $360 more than the

plaintiff ultimately recovered at trial.              Id. at *1.    The language

of the Jolly defendant’s offer, as it related to attorney’s fees,

was significantly different than the wording of CRI’s offer.                      It

stated: “defendants hereby offer to allow judgment to be taken

against them in this action, in the amount of thirty-thousand and

three hundred sixty dollars [], together with costs accrued to

date.” Id. at *2 (emphasis added).                 Had the Jolly plaintiff

accepted the defendant’s offer, it would have been up to the court

to include in its judgment an additional amount which, in its

discretion, it determined to be sufficient to cover costs and fees.

See Marek, 473 U.S. at 6.              Because the plaintiff rejected the


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defendant’s reasonable offer, the court required the plaintiff to

bear its own costs and pay the defendant’s costs. Fortunately for

Plaintiff Rivera, CRI’s offer was not couched in terms similar to

those in Jolly.

     The offer of judgment procedure set forth in Rule 68, if used

promptly and correctly, could save substantial litigation costs and

promote the just and speedy resolution of lawsuits like this one.

A defendant who discovers a technical violation of the FDCPA should

consider the economics of an immediate filing of an offer of

judgment “up to $1,000 statutory damages plus reasonable fees to be

decided by the court.”       Courts are capable of exercising sound

discretion     in   determining   how    much   statutory      damages      are

appropriate, and what hourly rate is reasonable in the locality

among lawyers of comparable skill and experience.               Leaving the

amount of attorney’s fees to the discretion of the court avoids the

pitfall   of   offering   acceptable     damages   but      fees   that     are

unreasonably low, though only barely so.

                        B. The Lodestar Figure3


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     The court is aware of the decision of the Second Circuit
Court of Appeals in Arbor Hill Concerned Citizens Neighborhood
Ass’n v. County of Albany, 493 F.3d 110 (2d Cir. 2007). In that
case, the Second Circuit acknowledged a “general confusion
surrounding the lodestar calculation,” and suggested a move away
from the use of the term “lodestar.” Due to its widespread use in
both the relevant case law and the parties’ filings in this case,
the court will use the term in this decision and employ the
analysis associated with the “lodestar method,” initially
developed by the Third Circuit. However, the court notes that it

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     Congress passed the FDCPA in 1968 in response to “abundant

evidence    of   the   use   of    abusive,     deceptive,       and   unfair      debt

collection practices by many debt collectors [which] contribute to

the number of personal bankruptcies, to marital instability, to the

loss of jobs, and to invasions of individual privacy.”                  15 U.S.C.A

§1692(a).    Under 15 U.S.C. § 1692k, a plaintiff who has prevailed

under the FDCPA is entitled to reasonable attorney’s fees and

costs.     The Third Circuit has held that the FDCPA “mandates an

award of attorney’s fees [to a prevailing party] as a means of

fulfilling Congress’s intent that the act should be enforced by

debtors acting as private attorneys general.” Graziano v. Harrison,

950 F.2d 107, 113-14 (3d Cir. 1991).4              The threshold requirement



would consider the same factors, and arrive at an identical
result if it instead employed either the Johnson method, outlined
by the Fifth Circuit Court of Appeals in Johnson v. Georgia
Highway Exp., Inc. 488 F.2d 714, 717-19 (5th Cir.1974), overruled
on other grounds by Blanchard v. Bergeron, 489 U.S. 87, 109
(1989), or the method suggested by the Second Circuit in Arbor
Hill. As noted in that decision, “[i]n practice . . . both
[courts utilizing the Johnson method and those utilizing the
lodestar method] considered substantially the same set of
variables, just at different points in the fee-calculation
process.” Arbor Hill, 493 F.3d at 115.
     4

     The opinion of the Court of Appeals of Minnesota, in Venes v.
Professional Service Bureau, Inc., 353 N.W.2d 671, 675 (1984)
describes the strong public policy justification for mandatory fee
awards in FDCPA cases:

     Civil suits will deter abusive practices only if it is
     economically feasible for consumers to bring them. Unless
     consumers can recover attorney fees it may not be
     possible for them to pursue small claims. . . .
     [U}nscrupulous collection agencies have little to fear

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that the movant be a “prevailing party,” has been defined by the

United States Supreme Court as “one who has succeeded on any

significant claim affording it some of the relief sought,” Texas

State Teachers Ass’n v. Garland Independent School Dist., 489 U.S.

782, 791 (1989), or one who can “point to a resolution of the

dispute which changes the legal relationship between itself and the

defendant.” Hewitt v. Helms, 482 U.S. 755, 760-61 (1987).

     The amount awarded is determined by multiplying a reasonable

hourly rate by the number of hours reasonably expended on the

litigation.    Hensley v. Eckerhart, 461 U.S. 424, 434 (1983);

Orchano v. Advanced Recovery Inc., 107 F.3d 94, 98 (2d Cir. 1997).

The product of this calculation is called the "lodestar" figure.

Quaratino v. Tiffany & Co., 166 F.3d 422, 425 (2d Cir. 1999).                The

party requesting fees bears the burden of proving reasonableness by

way of an affidavit detailing the time spent working on the case

and the fees charged.        Lieberman v. Dudley, No. 395CV2437(AHN),

1998 WL 740827, at *5 (D. Conn. July 27, 1998) (citing Blum v.

Stenson, 465 U.S. 886, 895-96 (1984)).          When a plaintiff achieves

success on the merits, “an award of . . . the lodestar figure [] is

presumptively appropriate.” DiFilippo v. Morizio, 759 F.2d 231, 234

(2d Cir. 1985).



     from such suits if consumers must pay thousands of
     dollars in attorney fees to protect hundreds. Congress
     recognized this problem and specifically provided for the
     award of attorney fees to successful plaintiffs.

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     Despite   this   presumption,        a   district     court      has    broad

discretion to fashion a reasonable award of attorney’s fees under

the FDCPA. Norton v. Wilshire Credit Corp., 36 F. Supp. 2d 216, 219

(D.N.J. 1999).    The Fifth Circuit outlined twelve factors                 to be

considered by a court in determining what, if any, attorney’s fees

should be awarded in Johnson v. Georgia Highway Exp., Inc., 488

F.2d 714, 717-19 (5th Cir.1974), overruled on other grounds by

Blanchard v. Bergeron, 489 U.S. 87, 109 (1989).5               The United States

Supreme Court, in Hensley, 461 U.S. at 436, acknowledged that the

Johnson factors are relevant to evaluating claims for attorney’s

fees, noting that the most critical factor is the degree of success

obtained.   It is therefore within the discretion of a district

court to make downward adjustments to the lodestar figure based on

the degree of success obtained by a plaintiff.             This is rooted in

the important threshold requirement that a movant be a prevailing

party before attorney’s fees are awarded.

     A party advocating for reduction of the lodestar figure bears



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     The twelve factors are: (1) the time and labor required; (2)
the novelty and difficulty of the questions; (3) the skill
requisite to perform the legal service properly; (4) the preclusion
of employment by the attorney due to acceptance of the case; (5)
the customary fee; (6) whether the fee is fixed or contingent; (7)
time limitations imposed by the client or the circumstances; (8)
the amount involved and the results obtained; (9) the experience,
reputation, and ability of the attorneys; (10) the “undesirability”
of the case; (11) the nature and length of the professional
relationship with the client; and (12) awards in similar cases.
Johnson, 488 F.2d at 717-19.

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the burden of establishing that a reduction is justified. See U.S.

Football League v. National Football League, 887 F.2d 408, 413 (2d

Cir. 1989).      Such an argument cannot be grounded in lack of

proportion between the amount of attorney’s fees requested and the

size of the award attained, as the FDCPA, like many other consumer

protection and civil rights statutes, “was enacted in part to

secure legal representation for plaintiffs whose . . . injury was

too small, in terms of expected monetary recovery, to create an

incentive for attorneys to take the case under conventional fee

arrangements.”    Kassim v. Schenectady, 415 F.3d 246, 252 (2d Cir.

2005).   Rather, the principle behind any argument for reduction of

the lodestar amount should be to assure that fees are awarded only

to the extent that the litigation was successful.           See Norton, 36

F. Supp. 2d at 219.     “A reduced fee award is appropriate if the

relief, however significant, is limited in comparison to the scope

of the litigation as a whole.”      Hensley, 461 U.S. at 440.

     Plaintiffs often present multiple claims and theories for

relief, each with a range of potential awards,

     involving numerous challenges to institutional practices
     or conditions. . . . Although the plaintiff often may
     succeed in identifying some unlawful practices or
     conditions, the range of possible success is vast. That
     the plaintiff is a “prevailing party” therefore may say
     little about whether the expenditure of counsel’s time
     was reasonable in relation to the success achieved.

Hensley, 461 U.S. at 436.      A court, then, should ask itself two

questions when considering a reduction in fee awards based on


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limited success.          First, did the plaintiff fail to prevail on

claims that were unrelated to the claims on which (s)he succeeded?

Second, did the plaintiff achieve a level of success that makes the

hours reasonably expended a satisfactory basis for a fee award?

Id.,     at   434.        If   the    court     answers     the     first     question

affirmatively, then it should make a downward adjustment to ensure

that the applicant is not awarded fees for work expended on an

unrelated,        unsuccessful       claim.     Alternatively,      if      the   court

determines that the claims are related, a court should focus on the

significance of the overall relief obtained by the plaintiff in

relation to the hours reasonably expended on the litigation.

       If a court chooses to make downward adjustments, it may either

reduce the overall award or attempt to identify specific hours that

should be eliminated.          Id. at 436-37.       In a case where a plaintiff

presents distinctly different claims for relief that are based on

different facts and legal theories no fee should be awarded for

services on the unsuccessful claim. Id. at 434-35.                       The law also

requires      a   court   to   exclude    claimed     hours    from   its     lodestar

calculation that it finds to be “excessive, redundant, or otherwise

unnecessary.” Reiter v. Metropolitan Transp. Auth. of State of New

York, No. 01CV2762(GWG), 2007 WL 2775144 at *9 (S.D.N.Y. September

25, 2007) (quoting Hensley, 461 U.S. at 434)).                There is no precise

rule or formula for making these determinations, and, because “it

is unrealistic to expect a trial judge to evaluate and rule on


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every    entry    in   an    application,”     a   court      may   apply     an

across-the-board percentage cut “as a practical means of trimming

fat from a fee application.” New York State Ass’n for Retarded

Children v. Carey, 711 F.2d 1136, 1146 (2d. Cir. 1983).

1. Plaintiff as a Prevailing Party

     Defendant does not contend, nor can it be reasonably argued,

that plaintiff here was not a prevailing party under the FDCPA.

The jury’s award of statutory damages represented success for

plaintiff on a “significant claim affording it some of the relief

sought,” and changed the legal relationship between plaintiff and

defendant by requiring that CRI pay $1,000 in statutory damages.

See Texas State Teachers Ass’n, 489 U.S. at 791; Hewitt, 482 U.S.

at 760-61.       Thus the court finds, as a threshold matter, that

plaintiff is a prevailing party under the FDCPA, entitling her to

reasonable attorney’s fees and costs.

     However, plaintiff’s success in this case was substantially

limited.6    Plaintiff argued that CRI had failed to comply with the


     6

     The only aspect of this case on which plaintiff was victorious
was the technical violation that the defendant admitted. One can
only speculate what the jury would have done had defendant not so
stipulated. In the court’s view, there is an excellent chance that
the jury would have accepted Jose Sobrino’s testimony that the only
reason he did not give plaintiff timely written notice of her right
to dispute the debt was that in his previous phone conversations
with the plaintiff she had informed him that she disputed the debt,
thus manifesting her knowledge of the very information the notice
was intended to impart.     Technically, this may not have been
sufficient to excuse the violation as a matter of law, but it
nonetheless might have persuaded the jury, given the superior

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timely mailing requirement of the FDCPA, that debt collector Jose

Sobrino had engaged in several instances of misconduct in his

telephone communications with plaintiff, that the misconduct had

caused plaintiff severe distress, and that plaintiff had suffered

actual damages as a result.             In support of these contentions,

plaintiff offered the testimony of numerous witnesses, including

her son Angel Mercado, her friend Gladys Guzman, and plaintiff

herself.     Unfortunately       none   of     these   witnesses         were   at   all

persuasive. On the other hand, defendant’s witnesses, most notably

Sobrino, were persuasive in the testimony they offered to refute

plaintiff’s claim. It is an understatement to say that Sobrino was

a “good witness.”    He was an excellent witness.                 His testimony was

clear and detailed.        He was unevasive and sincere.                 The contrast

between    the   quality    of    his    testimony      and   that        offered    on

plaintiff’s behalf was striking.

      As a result, though they found for plaintiff on the one

technical FDCPA violation that CRI had stipulated to, the jury

unequivocally rejected the remainder of plaintiff’s contentions,

finding for CRI on the six other claimed FDCPA violations (the

“telephone violations”) and on the issues of intentional infliction

of   emotional   distress     and    actual     damages.          This    unequivocal

repudiation of virtually all of plaintiff’s case leads the court to

conclude that, although she is a prevailing party, her success was


quality of Mr. Sobrino’s testimony.

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extraordinarily         limited.      In    these     circumstances,       the    court

believes     that   a    drastic     reduction      in   the   amount     of   fees    is

required.

2. The Lodestar Figure

       The court finds that plaintiff’s initial calculation of the

lodestar figure is based on a reasonable and appropriate evaluation

of the value of Attorney Blinn’s services.                     Attorney Blinn is a

highly skilled and experienced litigator, particularly in the area

of     consumer     protection       litigation,         and    conducted      himself

accordingly throughout the litigation.                    Adjudication of a fee

application often requires analysis of the hourly rate claimed by

the applicant, with reference to the rates charged by similar

attorneys in similar cases.             In this case, attorney Blinn seeks

fees at $325 per hour, and has submitted an affidavit detailing the

time spent on this litigation at that rate.                    Attorney Blinn also

goes    to   some    lengths    in    his     memorandum       in    support   of     his

application to explain to the court why such a rate is reasonable

in this case.       Defendant does not dispute Attorney Blinn’s claimed

rate, and this court finds that rate is both consistent with those

requested in similar cases and reasonable in light of Attorney

Blinn’s skill and experience as an attorney.                        Thus, no downward

adjustment to the lodestar figure is required on these grounds.

3. Unnecessary Work

       Plaintiff was wholly successful in pursuit of her FDCPA claim;


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the jury awarded her $1,000, the maximum allowed under the statute.

Thus no reduction should be made to the lodestar figure under the

theory that plaintiff had “limited success” in the litigation of

this claim. However, it is the charge of the court to also exclude

hours    that   were     not   reasonably     necessary    to    the   successful

litigation of this claim.         Here, the jury made their award after

finding for the plaintiff on only one of the seven claimed FDCPA

violations. Specifically, the jury found that CRI had failed to

comply with the FDCPA’s timely mailing requirement, which CRI

stipulated to in its “Stipulation of Uncontested Facts and Law.”

Because the jury rejected plaintiff’s claim that CRI had committed

six other FDCPA violations, this court finds that a reduction of

plaintiff’s fee awards is merited, as work done in pursuit of those

claims was      “excessive, redundant, or otherwise unnecessary.” See

Reiter, 2007 WL 2775144 at *9.

      Importantly, the nucleus of facts from which the failed FDCPA

claims purportedly arose is distinct from that of the stipulated

violation.      That is essential to this analysis, as it reveals that

the   work   done   in    relation   to   the   six   unsuccessfully      claimed

violations cannot rightly be said to have contributed to the

successful establishment of the seventh.              The stipulated violation

required a showing that CRI had failed to “give the plaintiff

written notice of the amount of the debt, the name of the creditor

to whom the debt is owed, a statement regarding the plaintiff's


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right to dispute the debt and to require the defendant to verify

the debt within five days after the initial communication.”                             15

U.S.C. § 1692g.       Establishing this ultimately required gathering

and presenting evidence that tended to prove that CRI had failed to

timely issue such a notice.           CRI’s stipulation to this violation

made it unnecessary for plaintiff to belabor this claim at trial.

However, the record is sufficiently developed to reveal that the

“nucleus of facts” from which the stipulated violation arose would

be the product of the following essential inquiry: did CRI, after

their    telephone    conversation      with        plaintiff        but    before     the

statutory deadline, generate and mail to plaintiff a writing that

complies with     § 1692g?

      On the other hand, the six other claimed violations of the

FDCPA all pertain to the substance of the telephone communication

between Sobrino and plaintiff. For example, plaintiff claimed that

Sobrino threatened to have her arrested, failed to inform her of

the   details    of   the    debt    collection,        and    made        deceptive    or

misleading statements to her.          The nucleus of facts underlying the

telephone    violation      claims   was      the    product     of    the    following

essential inquiry: what did Sobrino say and not say to plaintiff,

how did he say it, and what were his intentions?                     This is a wholly

distinct inquiry from that required for the stipulated violation,

giving rise to facts of a significance that is truly independent of

the timing and contents of the required mailing.


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     Plaintiff committed substantial time and resources towards

establishing these violations throughout the litigation.                     Again,

the court notes that plaintiff’s witnesses on this point were

thoroughly unconvincing, while Sobrino’s testimony was forthright

and credible, bolstered further by the complete absence of similar

complaints   against    him    on    his      record.      The     result   was     an

unequivocal rejection by the jury of plaintiff’s claim that CRI had

committed the telephone violations.

     While the jury still awarded plaintiff the maximum allowable

damages under the FDCPA, justice requires a reduction of the fee

request to account for time unnecessarily and unsuccessfully spent

litigating six out of the seven claimed FDCPA violations. Focus on

the one FDCPA violation that was ultimately proved was clearly

justifiable,   evidenced      by    defendant’s      ultimate      willingness      to

stipulate to that violation.           As for the six other violations,

plaintiff    had   no   evidence      to      support   them      other   than     her

unimpressive testimony and that of her witnesses.

     Plaintiff seriously miscalculated how her and her witnesses’

testimony would be received.          It may well have been a good faith

miscalculation, but it is not one which will be rewarded.                          The

purpose of the FDCPA is not advanced by encouraging litigants to

bring claims that are this weak.              The $1,000 jury award was based

on the stipulated violation, and plaintiff’s attempts to establish

the other six violations needlessly added to the time and costs


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required to dispose of this case, and were not a factor in that

$1,000   award.      Reduction   of     the   plaintiff’s      fee    award    is

appropriate and necessary on these grounds.

4. Limited Success

     Plaintiff’s success in this case was unquestionably limited.

She presented two distinct claims - one for statutory violations

and the other for intentional infliction of emotional distress and

actual damages - only one of which was successful.                 Thus, while

plaintiff is a prevailing party under the FDCPA, justice requires

that she only be awarded attorney’s fees to the extent that the

litigation was successful. First, the court must determine whether

the two claims are unrelated; that is, do they arise from a common

nucleus of facts or related legal theories?           If not, the court must

then determine whether the plaintiff achieved a level of success

that makes the hours reasonably expended a satisfactory basis for

a fee award.   Finally, if the court determines that a reduction of

the lodestar figure for lack of success is appropriate, it must

then determine the extent of that reduction. See Hensley, 461 U.S.

at 434-37.

     First, the court finds that the two claims were related under

the law, though barely. Much of the work required to establish the

second claim was in fact completely unrelated to the successful

claim. The FDCPA claim focused solely on the alleged misconduct of

the defendant.    The intentional infliction of emotional distress


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and    actual   damages      claim    concerned        the    effect       that   alleged

misconduct      had   on    plaintiff.          This    involved       a    substantial

commitment of time and resources throughout the litigation towards

securing medical records, speaking with doctors, and gathering

testimonial     evidence      from    plaintiff     and      others     regarding      the

emotional and physical impact of defendant’s alleged misconduct on

plaintiff. On the other hand, the misconduct that plaintiff claims

CRI engaged in here is exactly the same misconduct that she claims

in her FDCPA claims.         The interrelation between plaintiff’s claims

is essentially as follows: (1) that defendant engaged in numerous

acts of misconduct that amounted to violations of the FDCPA; and

(2) such conduct caused emotional distress and actual damages to

the plaintiff. Because many of the same facts underlie claims, the

court finds as a matter of law that the claims were related.

       The inquiry does not end there, however.                        Attorney Blinn

correctly references the United States Supreme Court for the

proposition that, when a court finds that different claims “involve

a common core of facts . . . the fee award should not be reduced

simply because the plaintiff failed to prevail on every contention

of    the   lawsuit.”      Hensley,   461   U.S.       at    435.      Such   reference

oversimplifies the Supreme Court’s holding on this issue, though.

The court in Hensley elaborated that, when a court is considering

reducing a fee in a case with related claims “it is the result that

matters.” Id. at 435.         It stated:


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     Where a plaintiff has achieved excellent results, his
     attorney should recover a fully compensatory fee. . . .
     If, on the other hand, a plaintiff has achieved only
     partial or limited success, the product of hours spent
     times a reasonable hourly rate may be an excessive
     amount. This will be true even where the plaintiff’s
     claims were interrelated, nonfrivolous, and raised in
     good faith. Congress has not authorized an award of fees
     whenever it was reasonable for a plaintiff to bring a
     lawsuit. . . . [T]he most critical factor is the degree
     of success obtained.

Id. at 436 (emphasis added).            Here, the court finds that plaintiff

did not achieve excellent results.                While she succeeded in one of

seven   of    her   FDCPA    claims,       the    jury   unequivocally      found     for

defendant      on   her     claim    for    actual       damages     and   intentional

infliction of emotional distress.                 Given the significant emphasis

placed on this claim throughout the litigation, it cannot rightly

be characterized as a minor or peripheral component of the lawsuit.

Plaintiff’s inability to secure a favorable jury verdict on that

claim represented a substantial failure.

     The court will not employ a strictly mathematical approach of

reducing plaintiff’s fee by fifty percent to reflect that she only

succeeded on fifty percent of her claims. Such an approach ignores

the reality that separate claims in the same lawsuit are often on

unequal      footing,     requiring     different        emphasis,     priority,      and

investment of time and resources.                 The court recognizes that some

of the work committed to this claim was related to plaintiff’s

other, successful claim. The court also recognizes that pursuit of

the FDCPA claim may have required a disproportionate amount of time


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and   resources,      although      that    is     not     clear   from    the   record.

Nevertheless,     this   claim      was     a     significant      component     of   the

litigation, plaintiff was unsuccessful in proving it to the jury,

and much of the work it required in no way contributed to the

success    of   plaintiff’s         FDCPA         claim.    Further       reduction   of

plaintiff’s     fee   award    is    thus       necessary,     not    simply     because

plaintiff failed to prevail on every contention of the lawsuit, but

in recognition of her partial and limited success.

5. Downward Adjustment of the Lodestar Figure

      The court therefore concludes that a significant reduction to

the lodestar figure is warranted in this case.                        As work done in

pursuit of the six unsuccessful FDCPA claims was “excessive,

redundant, or otherwise unnecessary,” a reduction is appropriate.

See Reiter, 2007 WL 2775144 at *9.                       Additionally, plaintiff’s

partial and limited success in the litigation warrants further

downward adjustment to the lodestar figure.                        As is within its

discretion, the court will apply an across-the-board percentage cut

when reducing the lodestar figure, rather then eliminating specific

hours from plaintiff’s fee request. First, it would be exceedingly

difficult from the record before the court to identify which hours

were specifically committed to the six unsuccessfully claimed FDCPA

violations.      Second, although defendant has identified several

items on Attorney Blinn’s affidavit that are clearly connected to

the unsuccessful emotional distress claim, the court recognizes


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that it is unrealistic, if not impossible, to properly identify the

precise amount expended on this claim solely by reference to those

items.        With these considerations in mind, the court reduces

plaintiff’s fee by seventy-percent, resulting in a fee award of

$9,195.83.

6. Proportionality

      The court emphasizes that proportionality between the jury

award and the fee request played no role in its decision to reduce

the lodestar figure.       As discussed, reducing a fee request simply

because it is disproportionate to a damage award runs contrary to

the policies underlying the FDCPA and overestimates the extent to

which an individual litigant can control the expenses of a lawsuit.

The reductions of the lodestar figure outlined herein are based on

the court’s dual determinations that plaintiff ultimately achieved

only limited success, and that much of the work underlying the fee

request was not reasonably necessary to achieving that success.

The   court    addresses   the   proportionality     issue        separately      in

response to Attorney Blinn’s citation of several cases in his

memorandum in support of his fee application.            [Dkt. #69].

      In each of these cases, a successful FDCPA plaintiff was

awarded    significant     attorney’s   fees   despite        a   low    recovery.

However, each of these cases is clearly distinguishable from the

case at hand. It is true that the court in Nelson v. Select

Financial Servs., Inc., No. Civ.A. 05-3473, 2006 WL 1672889 at *1


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(E.D.Pa. June 9, 2006) awarded plaintiff $24,000 in fees, despite

only granting a $1,000 statutory recovery.                The Nelson plaintiff

did not claim actual damages in that case, so the $1,000 recovery,

though disproportionately small, represented a complete success of

the litigation. Id. at *2. In Gardisher v. Check Enforcement Unit,

No. 00-CV-401, 2003 U.S.Dist. LEXIS 753 (W.D. Mich. 2003) the court

awarded   over   $69,000     in    attorney’s      fees   where    plaintiff      had

recovered $1,000 in FDCPA statutory damages.               Again, plaintiff did

not request actual damages in that case, meaning her recovery was

a complete success.    Id. at *23.

     In Armstrong v. Rose Law Firm, P.A., No. CIV. 00-2287MJD/SRN,

2002 WL 31050583 (D.Minn. Sep. 05, 2002) the court awarded $43,000

in attorney’s fees where the plaintiff had received $1,000 in

statutory damages but failed to prove her actual damages.                         The

court declined to reduce the fee request because it found that

because “[p]laintiff’s attorney spent virtually no time preparing

the case for actual damages . . . attorney’s fees related to this

issue are negligible.” Id. at *4.               Finally, in Perez v. Perkiss,

742 F. Supp. 883, 892 (D.Del. 1990), the court awarded over $10,000

in attorney’s fees despite a $1,200 damages award.                    Defendant’s

arguments for reducing the lodestar amount in that case focused on

claims that the attorneys were fee motivated, and that the relative

simplicity of the issues in the case did not justify the fees

requested. Id. at 890-92. The court rejected those arguments, and


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the defendant did not argue for any reduction for lack of success.

Id.

       Every one of these cases is clearly distinguishable from the

case    at   hand.     Each      of   those       plaintiffs    were    either   wholly

successful in the pursuit of their claims, or were found to have

not accrued significant fees in advancing unsuccessful claims.

Plaintiff here was not wholly successful in her litigation, and did

in fact devote significant time and resources to the pursuit of her

unsuccessful claim.        The only remaining value of these cases for

plaintiff is to remind the court that FDCPA fee awards are often

disproportionately large.             The court recognizes this and none of

its    deductions     to   the    lodestar        amount    are    motivated     by    any

perceived disproportionality between the fee requested and the

award granted in this case.

                                      C.      Costs

       Plaintiff claims $92.59 in litigation costs.                        This number

encompasses postage, facsimiles, copies, parking, and mileage for

work done by plaintiff’s attorney in this case. Defendant does not

dispute the reasonableness of these costs, and the court finds that

the request is reasonable.            Plaintiff is awarded $92.59 in costs.

                                 III.      Conclusion

       For   the     reasons     stated     herein,        plaintiff’s     motion      for

attorney’s fees and costs [Dkt. #68] is GRANTED, minus deductions.

Plaintiff      is awarded $9,195.83 in attorney’s fees and $92.59 in


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costs.   Defendant Corporate Receivables, Inc. is ORDERED to pay

attorney’s fees of $9,288.42 within thirty days of this ruling.

     This case is before the undersigned pursuant to             28 U.S.C. §

636(c) and D. Conn. Magis. R. 73(A)(1).         As such, this is a final

ruling directly appealable to the United States Court of Appeals

for the Second Circuit.      28 U.S.C. § 636(c)(3); D. Conn. Magis. R.

73(B)(1).



IT IS SO ORDERED.

Dated at Hartford, Connecticut this 28th day of March, 2008.



                                          /s/TPS
                                          Thomas P. Smith
                                          United States Magistrate Judge




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